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                              IN THE UNITED STATES DISTRICT COURT
                                FOR NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

TANGELO IP, LLC                                   )
                                                  )
                 Plaintiff,                       )
                                                  )
v.                                                )      Civil Action No. 3:17-cv-2104-M
                                                  )
SAM ASH MUSIC CORPORATION                         )
                                                  )
                 Defendant.                       )
                                                  )

                          ORDER OF DISMISSAL WITH PREJUDICE

       CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With

Prejudice of all claims asserted between plaintiff Tangelo IP, LLC and defendant Sam Ash

Music Corporation in this case, and the Court being of the opinion that said Motion [ECF #11]

should be GRANTED, it is hereby

       ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between

plaintiff Tangelo IP, LLC and defendant Sam Ash Music Corporation are hereby DISMISSED with

prejudice, subject to the terms of that certain agreement entitled "SETTLEMENT AND

LICENSE AGREEMENT" and dated October 9, 2017.

       It is further ORDERED that all attorneys' fees and costs are to be borne by the party that

incurred them.
       Dated: October 17, 2017.

                                                 _________________________________
                                                 BARBARA M.G. LYNN
                                                 CHIEF JUDGE
